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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION



IN RE: TRIBUNE COMPANY FRAUDULENT
CONVEYANCE LITIGATION                                                                   MDL No. 2296



                                  (SEE ATTACHED SCHEDULE)



                        CONDITIONAL TRANSFER ORDER (CTO −5)



On December 19, 2011, the Panel transferred 40 civil action(s) to the United States District Court
for the Southern District of New York for coordinated or consolidated pretrial proceedings pursuant
to 28 U.S.C. §1407. See 831 F.Supp.2d 1371 (J.P.M.L. 2011). Since that time, 9 additional action(s)
have been transferred to the Southern District of New York. With the consent of that court, all such
actions have been assigned to the Honorable Richard J Sullivan.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Southern District of New York and assigned to
Judge Sullivan.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. §1407 to the
Southern District of New York for the reasons stated in the order of December 19, 2011, and, with
the consent of that court, assigned to the Honorable Richard J Sullivan.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Southern District of New York. The transmittal of this order to said Clerk shall
be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                    FOR THE PANEL:



                                                    Jeffery N. Lüthi
                                                    Clerk of the Panel
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IN RE: TRIBUNE COMPANY FRAUDULENT
CONVEYANCE LITIGATION                                                         MDL No. 2296



                   SCHEDULE CTO−5 − TAG−ALONG ACTIONS



 DIST     DIV.     C.A.NO.      CASE CAPTION


DELAWARE

  DE        1     10−ap-55602    Marc S. Kirschner v. Brian F. Litman
  DE        1     10−ap-55605    Marc S. Kirschner v. Irene M.F. Sewell
  DE        1     10−ap-55606    Marc S. Kirschner v. Patrick Shanahan
  DE        1     10−ap-55608    Marc S. Kirschner v. Gary Weitman
  DE        1     10−ap-55612    Marc S. Kirschner v. David P. Murphy
  DE        1     10−ap-55616    Marc S. Kirschner v. John F. Poelking
  DE        1     10−ap-55625    Marc S. Kirschner v. Pamela S. Pearson
  DE        1     10−ap-55635    Marc S. Kirschner v. Marc S. Schacher
  DE        1     10−ap-55645    Marc S. Kirschner v. William P. Shaw
  DE        1     10−ap-55687    Marc S. Kirschner v. Joseph A. Young
  DE        1     10−ap-55707    Marc S. Kirschner v. Betty Ellen Berlamino
  DE        1     10−ap-55708    Marc S. Kirschner v. Tom. E. Ehlmann
  DE        1     10−ap-55711    Marc S. Kirschner v. James L. Ellis
  DE        1     10−ap-55734    Marc S. Kirschner v. Vincent R. Giannini
  DE        1     10−ap-55755    Marc S. Kirschner v. Peter A. Knapp
  DE        1     10−ap-55761    Marc S. Kirschner v. John R. Hendricks
  DE        1     10−ap-55772    Marc S. Kirschner v. Vincent A. Malcom
  DE        1     10−ap-55777    Marc S. Kirschner v. Gina M. Mazzaferri
